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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 Haley Gustavson, individually and on behalf of
 all others similarly situated,

                               Plaintiff,
                                                          Civil Action No. 1:20-cv-01496-DLF
                         v.

 The Catholic University of America,

                              Defendant.


            JOINT STATUS REPORT AND MOTION TO STAY PROCEEDINGS

       Plaintiff Haley Gustavson (“Plaintiff”), individually and on behalf others similarly

situated, and The Catholic University of America (“Catholic”) (collectively, the “Parties”)

provide this joint status report pursuant to the Court’s June 14, 2024 Minute Order. The Parties

have reached an agreement on all material terms of a class action settlement and are in the

process of drafting the necessary documents to perfect the same and jointly move this Court to

continue the stay in this case for another 30 days to allow the Parties time to finalize and perfect

the settlement documents. The Parties agree that Plaintiff will move for preliminary approval no

later than August 14, 2024. In support of their motion, the Parties state as follows:

       1.       On November 15, 2023, the Parties filed a Joint Motion to Stay Proceedings

asking the Court stay the case until March 8, 2024 to allow them to discuss settlement.

       2.       The Court granted the motion that same day.

       3.       On November 28, 2023, the Parties filed a joint motion for a mediation referral to

Judge Harvey. On November 29, 2023 the Court granted the motion and referred the case to
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Judge Harvey for mediation and stayed the case until March 17, 2024. The Court directed the

Parties to report to the Court on or before March 17, 2024, as to the status of the mediation.

       4.       On March 15, 2024, the Parties reported that they were actively drafting and

negotiating settlement papers and requested that the Court continue to stay the case.

       5.       In March 15, 2024 Minute Order, the Court granted the Parties’ motion for a

continued stay and directed the Parties to report to the Court on or before April 14, 2024 (which

fell on a Sunday) regarding the status of settlement.

       6.       On April 15, 2024, the Parties reported that they were continuing to draft and

negotiate settlement papers and requested an additional stay until May 15, 2024 to make further

progress.

       7.       In an April 15, 2024 Minute Order, the Court granted the Parties’ Motion for a

continued stay and directed the Parties to report to the Court on or before May 15, 2024

regarding the status of settlement.

       8.       On May 15, 2024, the Parties reported that they were actively working on

finalizing settlement papers and requested that the Court continue to stay the case.

       9.       In a May 15, 2024 Minute Order, the Court granted the Parties’ Motion for a

continued stay and directed the Parties to report to the Court on or before June 14, 2024.

       10.      On June 14, 2024, the Parties reported that they have reached an agreement on all

material terms of a settlement and are in the process of finalizing a settlement agreement, after

which Plaintiff will file a Motion for Preliminary Approval of the settlement. The Parties also

requested that the Court continue to stay the case.

       11.      In a June 14, 2024 Minute Order, the Court granted the Parties’ Motion for a

continued stay and directed the Parties to report to the Court on or before July 15, 2024.




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       12.     The Parties continue to perfect the settlement agreement and Plaintiff is currently

finalizing the documents necessary to move for preliminary approval of the settlement.

       Accordingly, for the reasons provided above, and for good cause shown, the Parties

respectfully request that the Court continue the stay in this case for another 30 days to allow the

Parties time to finalize and perfect the settlement documents and Plaintiff time to finalize her

motion for preliminary approval of the settlement and grant them all such other relief as the

Court deems necessary and appropriate. Plaintiff will file the motion for preliminary approval no

later than August 14, 2024.

 Dated: July 15, 2024                                 Respectfully submitted,

 By: /s/ Paul Doolittle                               By:   /s/ Tracy A. Roman

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